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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                          CRIMINAL ACTION

VERSUS                                            No. 08-140

MOSE JEFFERSON                                    SECTION "B"(1)
RENEE GILL PRATT


                             ORDER AND REASONS

       Oral   argument    was     held   on   January   12,   2011   concerning

Defendant Mose Jefferson’s Motion to Continue (Rec. Doc. No. 574),

Defendant Renee Gill Pratt’s Renewed Motion for Severance (Rec.

Doc. No. 568), and Defendant Renee Gill Pratt’s Second Renewed

Motion to Quash Jury Venire or Alternatively for Change of Venue

(Rec. Doc. No. 579), all of which are opposed by the Government.

Defendant Jefferson’s counsel indicated his client waived his

presence at hearing on the Motion to Continue Trial due to medical

reasons, but did not do so relative to other motions.                  Defendant

Gill Pratt was present for today’s hearings.

I.     Defendant Jefferson’s Motion to Continue

       Defendant Mose Jefferson seeks a continuance of the trial as

to him without date, due to medical reasons and his physical

inability to stand trial.           Rec. Doc. No. 574-1, at 5-6.            After

considering testimony from three different doctors, but primarily

that of Defendant’s treating physicians, Dr. Brian Boulmay and Dr.

Ben Barker, Defendant’s medical records, and supporting materials


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from the parties’ briefs on the Motion to Continue,

      IT IS ORDERED that the matter is RECESSED to give the Court

the   opportunity   to   observe    Defendant’s    condition,      including

logistical issues that may become necessary if trial proceeds now

or later.    United States v. Brown, 821 F.2d 986 (4th Cir. 1987)

(Among other factors, observing Defendant’s activities is a factor

in considering the degree to which a Defendant’s health might

impair his participation in his defense, especially the right to be

present at trial, to testify on his own behalf, and to confront

adverse witnesses).

II.   Defendant Pratt’s Motion for Severance

      At the hearing, Defendant      Pratt withdrew her Motion for

Severance to join Defendant Jefferson’s Motion to Continue, because

Defendant     Pratt’s attorney did not want the Motion for

Severance to adversely impact the Motion to Continue. However, the

Court found that if the Motion to Continue is granted as to

Defendant Jefferson, trial would still proceed on its currently

scheduled date as to     Pratt.    Accordingly,

      IT IS ORDERED that the Motion to Continue is DENIED as to

Defendant Pratt, without prejudice as to Defendant Jefferson’s

pending request for trial continuance for medical reasons.

III. Motion to Quash Jury Venire or Alternatively for Change of
     Venue

      A.    Motion to Quash Jury Venire



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     Defendant Pratt asserts that she adopts the authorities

and arguments previously submitted, which include a Sixth Amendment

claim regarding the right to a jury selected at random from a fair

cross-section of the community and a claim based on the Jury

Service and Selection Act. See Rec. Doc. Nos. 331-1, 477-1.

     1.      Sixth Amendment and the Fair Cross-Section Requirement

     The framework for establishing a prima facie violation of the

fair cross-section requirement of the Sixth Amendment was set forth

by the United States Supreme Court in Duren v. Missouri, 439 U.S.

357 (1979), and was recently employed by the Court in Berghuis v.

Smith,    130   S.Ct.     1382   (March    30,    2010).      Specifically,      the

defendant must show (1) that the group alleged to be excluded is a

“distinctive” group in the community; (2) that the representation

of the group in venires from which juries are selected is not fair

and reasonable in relation to the number of such persons in the

community;      and   (3)   that   this       underrepresentation     is   due      to

systematic exclusion of the group in the jury-selection process.

Duren, 439 U.S. at 364.          If a prima facie case of a violation is

made, the burden then shifts to the government to demonstrate that

attainment      of    a   fair   cross    section   is     incompatible    with      a

significant state interest.          Id. at 368.

     In Duren, the United States Supreme Court found that the

petitioner had met his burden by showing that over 50% of adults in

the community were women yet less than one of every six prospective


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jurors was female, resulting in 85% of the average jury being male.

Id. at 365-66. Additionally, the petitioner demonstrated that this

large discrepancy occurred in every weekly venire for nearly a year

and was the result of the operation of Missouri’s exemption

criteria.     Id. at 366-67.

       The Fifth Circuit addressed this issue in United States v.

Williams, 264 F.3d 561 (5th Cir. 2001).             The court stated that the

defendant’s failure to establish a prima facie case as to any one

of the above three elements defeats the claim.                  Id. at 568-569.

The court found that the first prong of the Duren analysis was met

as    African-Americans      constitute      a    distinctive       group   in   the

community.      Id. at 568.       In analyzing the second prong, the court

stated that the test focuses on whether the representation of

African-Americans in the challenged venire was fair and reasonable

in relation to the number of African Americans in the community -

specifically those eligible to serve as jurors in the Southern

District of Mississippi.1         Id.   Additionally, the Fifth Circuit has

held that a statistical discrepancy2 of up to 11.22% between the

number of Hispanics in the venire and the number eligible for jury


       1
       The Williams court failed to address the third prong as it found that
the second was not met and therefore the petitioner did not set forth a prima
facie violation.
       2
       This is determined by measuring the difference between the percentage
of members of the distinctive group in the relevant population and the
percentage of group members on the jury wheel. This is known as the “absolute
disparity test” which is utilized by the Fifth Circuit. See United States v.
Garcia, 121 F.3d 704, n.10 (5th Cir. 1997); United States v. Maskeny, 609 F.2d
183, 190 (5th Cir. 1980).

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duty was insignificant to establish a prima facie case of a fair

cross section violation.          United States v. Quiroz, 2005 WL 1427692

at *2(5th Cir. 2005) (unpublished) (citing Thompson v. Sheppard,

490 F.2d 830 (5th Cir. 1974)(finding an 11% disparity between the

number of African-Americans in the community and those in the jury

wheel insignificant)).

       The Fifth Circuit has also stated that the third prong of the

Duren test requires an independent showing that the discrepancy is

systematic.       Parades v. Quarterman, 574 F.3d 281, 290 (5th Cir.

2009).     It must be shown that the underrepresentation was inherent

in the particular jury selection process utilized, as was the case

in Duren, and one incidence of a jury venire being disproportionate

is not sufficient evidence of a “systematic” exclusion.                       Timmel v.

Phillips, 799 F.2d 1083, 1086-87 (5th Cir. 1986).

       Defendant does not set forth a prima facie case of a Sixth

Amendment violation of the fair cross-section under the Duren test.

In considering the second prong of the test, absent is any evidence

as    to   the   number    or   percentage       of    African-Americans        in   the

community who are qualified to serve as jurors. Not all registered

voters     are   also     qualified   to       serve   as   jurors,     and    reports

previously relied on by Defendant3 are based on a jury wheel that

is no longer in use.         Additionally, Defendant relies on the eight



       3
       See Report of Dr. Andrew Beveridge, dated June 21, 2006. Rec. Doc. No.
477-1, Exhibit 6.

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petit venire panels from which juries were selected in this Court

from January 14, 2008 to March 30, 2009.               However, this method is

incorrect, as petit venire panels are not to be considered as a

basis for meeting the second prong of the Duren test, but rather

the larger group of persons returning questionnaires and found

qualified to serve should be used.              See United States v. Royal, 174

F.3d 1, 7 (1st Cir. 1999); United States v. Jackman, 46 F.3d 1240,

1244 (2d Cir. 1995); United States v. Maskeny, 609 F.2d 183, 190

(5th Cir. 1980).      Finally, according to the most

recent   available   data,     a    7.4%       difference   exists    between    the

percentage of African-Americans in the Qualified Jury Wheel and the

percentage of African-Americans registered to vote in the Eastern

District of Louisiana.       See Rec. Doc. No. 586-1, Exhibits A; Rec.

Doc. No. 586-2, Exhibit B. This percentage is clearly insufficient

under Fifth Circuit jurisprudence to satisfy the second prong of

the Duren test.

     The third prong of the Duren test has also not been satisfied.

Defendant contends that the system utilizes inadequate procedures

to find current addresses for transient voters, and using Orleans

Parish as an example, argues that addresses should be drawn from

state driver’s license and identification card lists in addition to

voter registration lists.           See Rec. Doc. No. 331-1 at 8-9; Rec.

Doc. No. 477-1, at 9-10.       She additionally asserts that the Clerk




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of Court procedures in failing to locate prospective jurors whose

questionnaires have not been returned or have been returned by the

United States Post Office are a cause of the disparity.                        See Rec.

Doc. No. 331-1, at 3-4; Rec. Doc. No. 477-1, at 3-5.                    However, the

Jury Plan of the Eastern District of Louisiana and the procedures

adopted by and carried out by the Clerk of Court have been

challenged       and   upheld     several   times   after      Hurricane      Katrina,

explicitly in the face of claims that any underrepresentation is

due to systematic exclusion, and this Court fully agrees with those

decisions.        See United States v. Spencer, No. 04-162, at *4-5

(E.D.La. Jan. 27, 2006) (Berrigan, J.); United States v. Haynes,

2006 WL 1236059, at *2 (E.D.La. May 3, 2006) (Berrigan, J.); United

States    v.     Hardy,   2006     WL    1663813,   at    *3       (E.D.La.    May    3,

2006)(Berrigan, J.); United States v. Jones, 2006 WL 278248, at *3

(E.D.La. Feb. 3, 2006) (Africk, J.); United States v. Dixon, 2006

WL 278258, at *5 (E.D.La. Feb. 3, 2006) (Barbier, J.); United

States v. Caldwell, No. 06-23, Rec. Doc. No. 350, at 37-38 (E.D.La.

July 6, 2006) (Engelhardt, J.).                  Interestingly, at least one

section of our Court reported selection of an all African-American

trial jury on August 31, 2009.              See Pearce v. Zurich American, et

al, No. 08-3724 (E.D.La. Sept. 1, 2009) (Africk, J.).

        Accordingly, Defendant Gill Pratt has failed to set forth a

prima    facie    case    under    the   Duren   test    of    a    Sixth     Amendment

violation of the fair cross-section.


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        2.   The Jury Service and Selection Act

        Defendant     Gill    Pratt     similarly    maintains      that      the    jury

selection process of the Eastern District of Louisiana violates the

Jury Selection and Service Act (“JSSA”), 28 U.S.C. §§ 1861 et. seq.

Rec. Doc. No. 331-1, at 10; Rec. Doc. No. 477-1, at 11.                      She argues

that the selection of jurors for the Qualified Wheel is not random

due to inadequate procedures for following up on unreturned juror

questionnaires, which results in substantial underrepresentation of

African-Americans.           Id.      Specifically, she claims that “[t]he

mathematical odds of African-Americans being selected for the

Qualified Wheel are not substantially equal to that of whites

because the African-American population is concentrated in Orleans

Parish, and residents of Orleans Parish are less likely to live at

the addresses in the master jury wheel (which is drawn only once

every    four   years)       than   are   residents    on   other      parts    of   the

district.”      Id.

        To prevail on a JSSA claim, a defendant “must allege and prove

a substantial failure to comply with the provisions of the Act.”

United States v. McKinney, 53 F.3d 664, 570 (5th Cir. 1995).4                         The

Fifth Circuit has defined a substantial failure as “one that

destroys     the    random     nature     or   objectivity     of      the   selection


      4
        Additionally, 28 U.S.C. § 1867(a) requires a JSSA challenge to be made
within seven days after the defendant discovered, or, by the exercise of due
diligence, could have discovered the grounds for such a motion. As the
relevant data underlying Defendant’s motion has been available for months, the
timeliness of this motion is questionable at best.

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process.”     United States v. Hemminson, 157 F.3d 347, 358 (5th Cir.

1998).     As set forth above, this Court agrees with the numerous

decisions upholding the Jury Plan of the Eastern District of

Louisiana     against    recent    challenges      regarding        the   selection

process.     See supra, at 6-7.       Additionally, the Fifth Circuit has

found that the failure of the Clerk of Court to use driver’s

license lists to supplement voter registration lists is not a

violation of the JSSA.            See United States v. Reyes, 2007 WL

3208785, at *2 (5th Cir. 2007).

B.     Motion to Change Venue

       Defendant also relies on previous submissions to the Court in

support of a Motion to Change Venue due to pretrial publicity.                  See

Rec. Doc. Nos. 269-1, 475-1.

       The United States Supreme Court recently addressed a change of

venue motion due to pretrial publicity in Skilling v. United

States, 130 S. Ct. 2896 (June 24, 2010), where the Court held that

the district court did not err in denying Skilling’s motion for a

change of venue based on a presumption of prejudice. Skilling, 130

S. Ct. at 2917.          Skilling was a top executive of the Enron

Corporation.        The Court began its analysis by discussing prior

cases in which it found a presumption of prejudice to exist.

       The Court first considered Rideau v. Louisiana, 373 U.S. 723

(1963),     where   police   filmed   their      interrogation       with   Rideau,



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without   his    knowledge,      at   which       they   obtained     his   detailed

confession of the crimes for which he was charged - namely,

robbery, kidnapping, and murder.                  On three separate occasions

shortly before the trial, a local television station broadcast the

film to audiences ranging from 24,000 to 53,000 individuals.

Rideau moved for a change of venue, claiming he could not receive

a fair trial in the parish where the crime occurred, which had a

population of approximately 150,000 people. The trial court denied

the motion, Rideau was convicted, and the Louisiana Supreme Court

upheld the conviction.         The United States Supreme Court reversed,

finding   that    for    those    who       saw    and   heard    the    film,    the

interrogation was “in a very real sense...Rideau’s trial at which

he pleaded guilty.”      Id. at 726. The Court therefore held, without

examining a particularized transcript of the voir dire, that the

“kangaroo court proceedings” trailing the televised confession

violated due process.      Id. at 726-27.

     Subsequently, the Court held in Estes v. Texas, 381 U.S. 532

(1965),   that   media    coverage      manifestly        tainted     the   criminal

prosecution due to excessive exposure during preliminary court

proceedings,     as   reporters       and    television      crews      overran   the

courtroom and “bombarded...the community with the sights and sounds

of” the pretrial hearing.             The Court found that the media’s

overzealous reporting efforts “led to considerable disruption” and

denied the “judicial serenity and calm to which [Estes] was


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entitled.”       Id. at 536.

        Additionally, in Sheppard v. Maxwell, 384 U.S. 333 (1966), the

Court     found    that   the   pretrial     media      coverage,        which    was

characterized as “months [of] virulent publicity about Sheppard and

the murder,” did not alone deny due process.              Sheppard, 384 U.S. at

354. However, the Court reversed the murder conviction because the

trial was pervaded by a “carnival atmosphere,” as news reporters

practically took over the courtroom, causing bedlam and thrusting

the jurors “into the role of celebrities.”                Id. at 355, 358.

        The Court noted that although it overturned a conviction in

each of these cases because the trial atmosphere was “utterly

corrupted by press coverage,” its decisions “cannot be made to

stand for the proposition that juror exposure to...news accounts of

the crime...alone presumptively deprives the defendant of due

process.”     Murphy v. Florida, 421 U.S. 794, 798-99 (1975); Patton

v. Yount, 467 U.S. 1025 (1984).              Moreover, ignorance is not a

prerequisite for juror impartiality, and a presumption of prejudice

will only exist in the extreme case.          Skilling, 130 S. Ct. at 2914-

15 (citing Irvin v. Dowd, 366 U.S. 717, 722 (1961); Reynolds v.

United States, 98 U.S. 145, 155-56 (1879)).                     The Court then

distinguished      Skilling’s    prosecution       from    those    in    which     it

previously found a presumption of juror prejudice to exist.                       The

Court    first    considered    the   size   and     characteristics        of    the

community in which the crime occurred.                Skilling, 130 S.Ct. at

                                       11
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2915.     As opposed to the parish population of 150,000 in Rideau,

Skilling’s trial took place in Houston, where over 4.5 million

individuals were eligible for jury duty.             Id.    “Given this large,

diverse pool of potential jurors, the suggestion that 12 impartial

individuals could not be empaneled is hard to sustain.”                         Id.

(citing Mu’Min v. Virginia, 500 U.S. 415, 429 (1991) (finding the

same regarding the Washington D.C. area which has a population of

over 3 million and hundreds of murders committed each year);

Gentile v. State Bar of Nevada, 501 U.S. 1030 (1991) (drawing

venire from a pool of over 600,000 individuals lessened the

likelihood of prejudice)).

     Second, the Court noted that, in contrast to Rideau, “although

news stories about Skilling were not kind, they contained no

confession or other blatantly prejudicial information of the type

readers or viewers could not reasonably be expected to shut from

sight.”     Id. at 2916.       “No evidence of the smoking-gun variety

invited prejudgment of [Skilling’s] culpability.”                    Id. (citing

United States v. Chargra, 669 F.2d 241, 251-52, n.11 (5th Cir.

1982)).     Instead, pretrial publicity in this matter was less

memorable and prejudicial.        Id.

     Third, over four years had passed between Enron’s bankruptcy

and Skilling’s trial, and the level of media attention had somewhat

lessened during that time.         Id.       The Court noted that in Rideau

trial swiftly followed the widely reported crime.                  Id.

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      Finally, the Court considered the fact that Skilling’s jury

had   acquitted    him   of    nine   insider-trading          counts,   thereby

undermining the supposition of juror bias.             Id.

      Accordingly, the Court concluded that the matter at issue

shared little in common with the cases in which it approved a

presumption   of   juror      prejudice.       The    Court    reiterated   that

“pretrial publicity - even pervasive, adverse publicity - does not

inevitably lead to an unfair trial.”            Id. (citing Nebraska Press

Assn. v. Stuart, 427 U.S. 539, 554 (1976)).                   Additionally, the

district court employed an extensive screening questionnaire and

follow-up voir dire to satisfy the careful identification and

inspection of prospective jurors and their connections to Enron, as

necessitated by the widespread community impact. Id. at 2917. The

Court therefore held that no presumption of prejudice existed and

thus the District Court did not exceed constitutional limitations

in declining to order a venue change.           Id.

      Recent Fifth Circuit jurisprudence additionally states that “a

change of venue should not be granted on the mere showing of

widespread publicity.” United States v. Whitmore, 2010 WL 2802393,

*3 (5th Cir. July 15, 2010); United States v. Lipscomb, 299 F.3d

303, 343-44 (5th Cir. 2002); United States v. Parker, 877 F.2d 327,

330 (5th Cir. 1989); Calley v. Callaway, 519 F.2d 184, 205-206 (5th

Cir. 1975).   However, a presumption of prejudice can arise if “an

appellant can demonstrate that prejudicial, inflammatory publicity

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about his case so saturated the community from which his jury was

drawn as to render it virtually impossible to obtain an impartial

jury.”     Parker, 877 F.2d 327, at 330-31 (citing United States v.

Chagra, 669 F.2d 241, 250 (5th Cir. 1982)).               Nevertheless, the

court in Parker found that a presumption of prejudice did not

arise,     because   the   publicity    did   not   involve     incriminating

information and thus was not the type that would influence a

decision by a potential juror.         Parker, 877 F.2d at 331.     The court

further stated that even if a presumption of prejudice existed,

that presumption may be rebutted by demonstrating from the voir

dire that an impartial jury was actually empaneled.5              Id. (citing

United States v. Harrelson, 754 F.2d 1153, 1159 (5th Cir. 1985);

Chagra, 669 F.2d at 250).

      In evaluating the factors set forth in Skilling, this case

clearly does not near the extreme circumstances of Rideau. The

Eastern District of Louisiana encompasses a large geographic area

comprised of a community with a variety of social, political, and

cultural    characteristics,     and    the   publicity    surrounding      the

Jefferson family did not contain any confession or other evidence

of the “smoking-gun variety.” Additionally, this Court has already

indicated its intention to determine which jurors may have already

formed an opinion in this matter due to pretrial publicity by way

      5
       The United States Supreme Court did not reach the issue of whether the
presumption could be rebutted in Skilling as it found that no presumption
existed. See Skilling, 130 S.Ct. 2896, at 2917, n.18.

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of extensive juror questionnaires and general and individualized

voir dire.   A presumption of prejudice based on pretrial publicity

does not exist here.

     Based on the foregoing, the Second Renewed Motion to Quash

Jury Venire or Alternatively for Change of Venue is hereby DENIED

as to Defendant       Pratt; however, as Defendant Jefferson’s

Motion to Continue remains open, this decision is without prejudice

to Defendant Jefferson.

     IT IS FURTHER ORDERED that Counsel for Defendant Jefferson

must obtain a written waiver from Defendant Jefferson of any

privacy issues regarding his medical condition, due no later than

January 20, 2011.

     IT IS FURTHER ORDERED that the pretrial conference will be

held on January 20, 2011, at 3:00 p.m. in Chambers.

     New Orleans, Louisiana, this 14th day of January, 2011.




                                              United States District Judge




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